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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF ILLINOIS

 

ALICIA M. PAGE, CARMEL COOPER, and
CINDY MUNIZ, individually, and on behalf of all
others similarly situated

Plaintiffs, Case No. 19-cv-05965

v- Hon. Sharon Johnson Coleman
ALLIANT CREDIT UNION, and

DOEs 1-100,
Defendants.

 

 

DECLARATION OF CHARLES A. DEVORE
IN SUPPORT OF DEFENDANT ALLIANT CREDIT UNION’S
MOTION TO DISMISS ALL CLAIMS BROUGHT BY PLAINTIFF
ALICIA PAGE PURSUANT TO FEDERAL RULE OF CIVIL PROCEDURE 12(b)(6)

I, Charles A. DeVore, declare and state as follows:

1. I am an attorney licensed by the State of Illinois. I am counsel for Defendant Alliant
Credit Union in the above-captioned case.

2. Attached hereto as Exhibit A is a true and correct copy of the 2019 NACHA
Operating Rules, Subsection 2.12.4, Reinitiating of Returned Entries. The NACHA Rules are incorporated
by reference into Alliant’s Membership Agreement, which is itself incorporated by reference and
attached to Ms. Page’s Complaint. Compl., Dkt. No. 1, Exs. D, E.

3. Attached hereto as Exhibit B is a true and correct excerpt from Ms. Alicia Page’s
monthly statement for her account with Alliant Credit Union for the period ending on January 31,
2017. Ms. Page incorporates this document by reference into her Complaint, Dkt. No. 1, at { 46, 47.
To protect Ms. Page’s privacy, I have redacted or excluded Ms. Page’s personal information and all

transactions not relevant to Alliant’s motion to dismiss.
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4, Attached hereto as Exhibit C are true and correct copies of all unpublished cases cited

in Alliant’s motion to dismiss.

/s/ Charles A. DeVore
Charles A. DeVore
